                                         Case 4:17-cv-05783-HSG Document 275 Filed 02/06/19 Page 1 of 2




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     STATE OF CALIFORNIA, et al.,                    Case No. 17-cv-05783-HSG
                                   8                   Plaintiffs,                       SCHEDULING ORDER
                                   9             v.

                                  10     HEALTH AND HUMAN SERVICES, et
                                         al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                              Following a case management conference on January 29, the parties submitted proposed
                                  13
                                       briefing schedules and proposed page limits. See Dkt. No. 273. Having considered the parties’
                                  14
                                       proposals, the Court SETS the following deadlines pursuant to Federal Rule of Civil Procedure 16
                                  15
                                       and Civil Local Rule 16-10:
                                  16                                 Event                                         Date
                                  17              Plaintiffs’ Motion for Summary Judgment
                                                                                                               April 30, 2019
                                                                   (60 pages)
                                  18                Amicus Briefs in Support of Plaintiffs                     May 7, 2019
                                            Answer or Response to Second Amended Complaint                     May 31, 2019
                                  19    Defendants’ and Intervenor-Defendants’ Motions to Dismiss
                                            or Motions for Summary Judgment, Oppositions to
                                  20                                                                           May 31, 2019
                                                  Plaintiffs’ Motion for Summary Judgment
                                  21                          (60 pages per party)
                                          Amicus Briefs in Support of Defendants or Intervenor-
                                  22                                                                            June 7, 2019
                                                                  Defendants
                                           Plaintiffs’ Opposition to Defendants’ and Intervenor-
                                  23     Defendants’ Motions and Reply in Support of Motion for
                                                                                                                July 1, 2019
                                  24                          Summary Judgment
                                                                (60 pages total)
                                  25    Defendants’ and Intervenor-Defendants’ Replies in Support
                                                                  of Motions                                  August 1, 2019
                                  26                          (45 pages per party)
                                        Plaintiffs’ Sur-Reply Opposing Defendants’ and Intervenor-
                                  27
                                            Defendants’ Motions, Supporting Plaintiffs’ Motion                August 15, 2019
                                  28                            (15 pages total)
                                          Case 4:17-cv-05783-HSG Document 275 Filed 02/06/19 Page 2 of 2



                                                                                                                    September 5, 2019
                                   1                            Motion Hearing
                                                                                                                        2:00 p.m.
                                   2           The Court DIRECTS permissive intervenor State of Oregon to join the briefing of the
                                   3   Plaintiff States, rather than filing separate briefs. If Oregon or the Plaintiff States object to this
                                   4   directive, they must file a statement of two pages or less by February 8, 2019 explaining why
                                   5   Oregon should be entitled to file separately from the other States.
                                   6           The parties should include in their briefing a concise explanation of the remedies they
                                   7   seek, and the legal basis for that relief. However, as the Court made clear at the January 29 case
                                   8   management conference, the parties should devote the vast majority of their briefing to the
                                   9   substantive merits issues. The Court will request additional briefing on the issue of remedies if
                                  10   needed.
                                  11           These dates may only be altered by order of the Court and only upon a showing of good
                                  12   cause. The parties are directed to review and comply with this Court’s Civil Pretrial and Trial
Northern District of California
 United States District Court




                                  13   Standing Order.
                                  14           IT IS SO ORDERED.
                                  15   Dated: 2/6/2019
                                  16                                                      ______________________________________
                                  17                                                      HAYWOOD S. GILLIAM, JR.
                                                                                          United States District Judge
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